Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 1 of 29




                 Exhibit U
              Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 2 of 29


                                    IN THE MATTER OF AN OPINION
                           ON THE EXTRADITION LAW OF ENGLAND AND WALES



                                             RE GHISLAINE MAXWELL



    Overview

    1. This Opinion is provided pursuant to instructions from Peters and Peters Solicitors LLP 1 dated 12
            August 2020 in the context of bail proceedings relating to Ms Ghislaine Maxwell before the United
            States District Court, Southern District of New York. Subsequent instructions have confirmed that Ms
            Maxwell will execute a waiver of her right to extradition that could be exhibited to a future extradition
            request made by the United States and relied upon in any extradition proceedings. The specific
            questions asked by Peters and Peters are attached at Annex A. A summary of counsel’s relevant
            experience is attached at Annex B. The waiver is attached at Annex C.

    2. In summary:

                    (a) Extradition proceedings in the United Kingdom are governed by the Extradition Act 2003
                        (‘the 2003 Act’) and, in general, comprise; (i) a hearing before a designated ‘appropriate
                        judge’ (the extradition hearing); and (ii) an appeal, subject to a leave requirement.

                    (b) In proceedings under the 2003 Act, a requested person may consent to their extradition
                        which has the effect of removing the need for an extradition hearing and waiving the
                        person’s statutory appeal rights.

                    (c) In the majority of cases, proceedings in England and Wales in relation to US extradition
                        requests are concluded in under two years 2. The process is significantly shorter if the
                        requested person consents to their extradition and in those cases the timescales are
                        approximately between one and three months.

                    (d) It is extremely unlikely that bail would be granted in an extradition case in circumstances
                        where the requested person had absconded from criminal proceedings in the United States
                        prior to trial and in breach of bail.




1
 The following documents were annexed to the instructions: (a) Superseding Indictment, United States v Ghislaine
Maxwell, dated 8 July 2020; (b) a transcript of the arraignment and bail hearing that took place on 14 July 2020; (c) the
Motion to Detain the Defendant dated 2 July 2020; (d) the Memorandum in Opposition to the Motion for Detention dated
10 July 2020; (e) and the Government Reply Memorandum in Support of Detention dated 13 July 2020.
2
  There is no data as to the duration of extradition proceedings in Northern Ireland and Scotland but it may be inferred
that the timescales are similar.

1922623.1
1
            Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 3 of 29


                (e) On the basis of the information currently known, it is highly unlikely that Ghislaine
                   Maxwell would be able successfully to resist extradition to the United States in relation to
                   the charges in the superseding indictment dated 7 July 2020.




1922623.1
2
              Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 4 of 29


A. Extradition arrangements between the United Kingdom and the United States

            The extradition arrangements

       3. Extradition relations between the United Kingdom and the United States of America are governed by
            an extradition treaty signed on 31 March 2003 3, which is given effect in the domestic law of the
            United Kingdom 4 by the 2003 Act 5.

            Overview of the extradition process

       4. The United States of America has been designated as a ‘Part 2 territory’ (also referred to as a
            ‘Category 2 territory’) for the purposes of the 2003 Act 6. The effect of this designation is that
            extradition requests from the United States fall to be considered under Part 2 of the 2003 Act 7, and the
            United States is exempted from the requirement to provide evidence sufficient to make a case to
            answer against the requested person (‘the prima facie case requirement’) 8.

       5. Once a valid 9 request for extradition is made by a Part 2 territory, the Secretary of State must, subject
            to very limited exceptions 10 not applicable here, issue a certificate under section 70. Once a certificate
            is issued, the Secretary of State must send the request and certificate to the appropriate judge. In
            practice, it is extremely rare for the Secretary of State to refuse to issue a certificate under section 70.

       6. Under Part 2 of the 2003 Act, a requested person may be arrested pursuant to either a full extradition
            request 11, or a provisional request pending the service of a full extradition request 12. In both cases,
            there is an ‘initial hearing’ at which the requested person is produced before ‘the appropriate judge’ 13

3
 Extradition Treaty between the Government of the United States of America and the Government of the United
Kingdom of Great Britain and Northern Ireland, signed 31 March 2003 and ratified on 26 April 2007.
4
  The Extradition Act 2003 governs extradition to and from the United Kingdom. The Act applies in the three
jurisdictions within the United Kingdom: (a) England and Wales; (b) Scotland; and (c) Northern Ireland. There are
limited regional variations of which the only one of relevance to this Opinion is that the forum bar in s. 83A of the 2003
Act (see para. [34] below) is not yet in force in Scotland.
5
    Extradition Act 2003, c.41, given Royal Assent on 20 November 2003.
6
    Extradition Act 2003 (Designation of Part 2 Territories) Order 2003/3334, Art. 2.
7
    Extradition Act 2003, s. 69.
8
    Extradition Act 2003, ss. 84(7) and 86(7).
9
    The conditions governing whether a request is valid are in ss. 70(3)-(4A) and (7) of the 2003 Act.
10
  These relate to cases where: (a) there is a competing extradition request from another state (ss. 70(2)(a) and 126); and
(b) the requested person has been granted refugee status or humanitarian protection in the UK (s. 70(2)(b) and (c)).
11
     Extradition Act 2003, s. 71.
12
     Extradition Act 2003, s. 73.
13
     As defined in s. 139 of the Extradition Act 2003.


1922623.1
3
              Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 5 of 29


            who must consider, amongst other things, whether to remand the person in custody or on bail 14. In
            cases where the person appears before the court pursuant to a full extradition request, the judge must
            set a date for the extradition hearing to begin15. In provisional arrest cases, this date is set after the full
            request is served which, in US extradition cases, must be within 65 days of arrest 16.

      7.    At the extradition hearing, the appropriate judge must decide: (a) whether the extradition request
            meets certain technical requirements 17; (b) whether the person appearing before the judge is the
            person whose extradition is requested18; (c) whether the offence(s) specified in the extradition request
            are extradition offence(s) 19; (d) whether there are any bars to extradition 20; (e) whether extradition
            would be compatible with the person’s rights under the European Convention on Human Rights
            (‘ECHR’) within the meaning of the Human Rights Act 1998 21; and, where applicable, (f) whether
            extradition would be oppressive by reason of the person’s mental or physical condition 22.

      8.    If the appropriate judge decides all the statutory questions in favour of the requesting government,
            then they must send the case to the Secretary of State 23 who must decide whether any of the bars to
            extradition that she must consider 24 apply. These bars are different to those considered by the
            appropriate judge. The Secretary of State has no power to consider any human rights objections to
            extradition 25. If she decides that no bars apply, she must order the person’s extradition, 26 subject to
            very limited exceptions which are not applicable here 27.


14
     Extradition Act 2003, ss. 72(7)(c) and 74(7)(c).
15
     Extradition Act 2003, s. 75.
16
     Extradition Act 2003, s. 74(11)(b) and Extradition Act 2003 (Designation of Part 2 Territories) Order 2003/3334, Art.
4.
17
   Extradition Act 2003, s. 78(2). The request must contain: (a) the documents specified in s. 70(9) (the extradition
request and the Secretary of State’s certificate); (b) particulars of the offence(s) specified in the request; (c) an arrest
warrant or a certificate of conviction and, where applicable, sentence. The judge must also decide whether the relevant
documentation has been served on the requested person: s. 87(4)(c).
18
     Extradition Act 2003, s. 78(4)(a).
19
     Extradition Act 2003, s. 78(4)(b).
20
  The bars to extradition are: (a) the rule against double jeopardy (s. 80); (b) extraneous considerations (s. 81); (c)
passage of time (s. 82); (d) hostage-taking considerations (s. 83); and (e) forum (s. 83A). The bars to extradition are
considered further at paras. 26 to 35 below.
21
  Section 87. The rights under the ECHR apply to every person within the jurisdiction of the United Kingdom: ECHR,
Art. 1.
22
     Extradition Act 2003, s. 91.
23
     Extradition Act 2003, s. 87(3).
24
  The bars to extradition that the Secretary of State must consider are: (a) the death penalty (s. 94); (b) speciality (s. 95);
(c) earlier extradition to the United Kingdom from another territory (s. 96); and (d) earlier transfer to the United
Kingdom from the International Criminal Court (s. 96A).
25
     Extradition Act 2003, s. 70(11).

1922623.1
4
              Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 6 of 29


      9.    A requested person may appeal the decision of the appropriate judge to send the case to the Secretary
            of State, the decision of the Secretary of State to order extradition, or both 28, except in consent cases
            where the person is deemed to have waived their rights of appeal 29. Where the requested person is
            discharged at the extradition hearing or by the Secretary of State, the requesting government may
            appeal the decision to discharge 30. Extradition appeals are heard by the High Court. An appeal may be
            brought on a question of law or fact and may not be brought unless the court grants leave to appeal
            which requires the Appellant to establish that there is a reasonably arguable ground of appeal 31.

      10. Either party may appeal a decision of the High Court to the Supreme Court, but only where the High
            Court has certified that the decision involves a point of law of general public importance, and either
            the High Court or the Supreme Court concludes that the point is one that ought to be considered by the
            Supreme Court 32. Where leave is granted, the Supreme Court may either grant the appeal, or dismiss
            it 33. In practice, such appeals are extremely rare; in the past ten years, only one US extradition case
            has been considered by the Supreme Court 34.

      11. In some cases, a requested person may apply to the European Court of Human Rights and seek an
            injunction to prevent the extradition from taking place until the application is determined 35. Such
            applications, which must be based on an alleged violation of a right under the ECHR 36, are also very
            rare.




26
     Extradition Act 2003, s. 93(4).
27
   The exceptions are: (a) that the Secretary of State is informed that the request has been withdrawn (s. 93(4)(a)); (b)
there is a competing claim for extradition from another state (ss. 93(4)(b), 126(2) and 179(2)); (c) the person has been
granted asylum or humanitarian protection in the United Kingdom (s. 93(4)(c) and 6(A)); or (d) extradition would be
against the interests of UK national security (s. 208).
28
     Extradition Act 2003, ss.103 and 108.
29
     Extradition Act 2003, ss. 103(2) and 108(2).
30
     Extradition Act 2003, ss. 105 and 110.
31
     Extradition Act 2003, ss. 103(4), 105(4), 108(3) and 110(4) and Criminal Procedure Rules (‘CrimPR’), r. 50.17(4)(b).
32
     Extradition Act 2003, s. 114(4).
33
     Extradition Act 2003, s. 115(1).
34
     Norris v Government of the United States of America [2010] 2 AC 487.
35
     ECHR, Art. 34 and European Court of Human Rights, Rules of the Court, r. 39.
36
     ECHR, Art. 34.


1922623.1
5
              Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 7 of 29


       An overview of the timeframes in relation to US extradition requests

12. The timescales applicable to extradition proceedings are defined by statute and are set out in Annex D,
       along with the circumstances in which the time-limits can be extended.

13. There are few publicly available figures with respect to the timescales in Part 2 extradition cases in
       general, and none with respect to US extradition cases. In July 2013, the UK Government estimated that,
       on average, Part 2 extradition cases took approximately 10 months to conclude 37. In practice, contested
       US extradition cases can take longer than 10 months, although the majority conclude within two years.

14. These timescales are significantly reduced in cases such as this one where the requested person consents
       to his or her extradition at an early stage in the process. In those cases, extradition would be likely to take
       place within three months.

B. Consent to extradition

15. At the initial hearing where a requested person is first produced before the court, the appropriate judge is
       required to give them “the required information about consent” 38. This information is: (a) that the person
       may consent to extradition; (b) an explanation of the effect of consent and the procedure that will apply if
       consent is given; and (c) that consent must be given in writing and is irrevocable 39.

16. Where consent is given before the case has been sent to the Secretary of State, it must be given at a
       hearing before the appropriate judge 40. Once the case has been sent to the Secretary of State, consent must
       be given to the Secretary of State 41.

17. Where consent is given before the case is sent to the Secretary of State, the consequences are as follows:

            (a) If the appropriate judge has not fixed a date for the extradition hearing, they are not required to do
                so 42;

            (b) If the extradition hearing has begun, the appropriate judge is no longer required to proceed with
                it 43;


37
  HM Government, Decision pursuant to Article 10 of Protocol 36 to the Treaty on the Functioning of the European
Union, July 2013, Cm 8671, page 94.
38
     Extradition Act 2003, ss. 72(7)(b) and 74(7)(b).
39
     Extradition Act 2003, ss. 72(8) and 74(8).
40
     Extradition Act 2003, s. 127(4), (6)-(7).
41
     Extradition Act 2003, s.127(5).
42
     Extradition Act 2003, s. 128(2).
43
     Extradition Act 2003, s. 128(3).


1922623.1
6
              Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 8 of 29


            (c) The appropriate judge is required to send the case to the Secretary of State44;

            (d) The speciality bar to extradition no longer applies 45.

18. In all extradition cases, a requested person who consents to extradition loses the right to appeal against
       either the decision to send the case to the Secretary of State or the order for extradition 46.

19. The main effect of a decision by a requested person to consent to extradition is that the overall extradition
       procedure is substantially shortened. In the context of US extradition cases, this means that removal can
       take place within months, sometimes weeks, as compared to the longer timescales considered above.

C. Bail in extradition cases

20. Where extradition is sought for the purpose of prosecuting the requested person for an offence, the person
       has the same right to bail as a defendant in domestic criminal proceedings, namely there is a presumption
       that bail will be granted unless one of the exceptions in Schedule 1 to the Bail Act 1976 applies 47. The
       three exceptions in Schedule 1 that most commonly apply in extradition proceedings are where there are
       substantial grounds to believe that the requested person, if released on bail, would: (a) fail to surrender to
       custody; (b) commit an offence while on bail; or (c) interfere with witnesses or otherwise obstruct the
       course of justice 48.

21. In considering whether to grant bail in an extradition case, the appropriate judge must have regard to as
       many of the statutory considerations as appear to be relevant 49. Those considerations are: (a) the nature
       and seriousness of the offence and the likely sentence; (b) the character, antecedents, associations and
       community ties of the requested person; (c) the requested person’s record as respects the fulfilment of
       their obligations under previous grants of bail in criminal proceedings; (d) the strength of the evidence
       against the requested person; and (e) any risk that the requested person may cause physical to mental
       injury to another person.

22. The approach taken by the High Court in a number of recent US bail appeals gives an indication as to the
       way in which the statutory considerations are approached in practice. In all five cases bail was refused 50.


44
     Extradition Act 2003, s. 128(4).
45
  Extradition Act 2003, s.95(2). The principle of specialty is a rule of extradition law that is intended to ensure that an
extradited person is not dealt with in the requesting state for any offence other than that for which they have been
extradited.
46
     Extradition Act 2003, ss. 100(2), 103(2) and 108(2).
47
     Bail Act 1976, s. 4(2A). There is no presumption of bail where extradition is sought in a conviction case: s. 4(2B).
48
     Bail Act 1976, Schedule 1, para. 2(1).
49
     Bail Act 1976, Schedule 1, para. 9.
50
  Adeagbo v Government of the United States of America, 5 August 2020 (unreported) (wire fraud, money laundering
and identity theft); Singh v Government of the United States of America [2019] EWHC 1800 (Admin) (drug trafficking);

1922623.1
7
                Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 9 of 29


       In three of the five cases the applicant was either a British citizen or had significant community and
       family ties to the UK 51 but these were outweighed by the risk of flight, and in the other case, the lack of
       substantial community ties was cited as a factor in refusing bail 52.

23. As to the question in Peters and Peters’ instructions, namely whether a person who absconded from US
       criminal proceeding in breach of bail would be likely to be granted bail in any subsequent UK extradition
       proceedings, such a person is extremely unlikely to be granted bail. While every bail application falls to
       be considered by reference to all the circumstances that are relevant at the time that the application is
       made, in practice evidence of both a clear desire to evade prosecution for the offences in the extradition
       request, and a previous history of failure to comply with bail conditions, would militate strongly against
       the grant of bail in almost all factual circumstances.

D. The bars to extradition that may conceivably be open to Ms Maxwell should she face extradition to
the US in relation to the charges on the superseding indictment dated 7 August 2020

       24. The offences in the superseding indictment are extradition offences within the meaning of section 137
              of the Extradition Act 2003 53.

       25. On the basis of the information available, there does not appear to be any arguable basis upon which
              the bars of double jeopardy 54; hostage-taking considerations 55; death penalty 56; speciality 57; or earlier
              extradition or transfer could be engaged 58.

       26. On the information available, the remaining bars - abuse of process/political motivation; passage of
              time; forum; and mental and physical condition - would almost certainly fail in this case.


Perry, fn 44, (kidnapping); Abdullah v Government of the United States of America [2018] EWHC 2609 (Admin) (fraud);
Government of the United States of America v Panovas [2018] EWHC 921 (Admin) (fraud).
51
     Abdullah; Panovas; Perry; and Adeagbo.
52
     Singh.
53
  Had the conduct alleged occurred in the United Kingdom it would have amounted offences that include: (a) conspiracy
to commit indecent assault contrary to section 1 of the Criminal Law Act 1967; (b) aiding and abetting or inciting
indecent assault contrary to common law; (c) indecent assault contrary to section 14 of the Sexual Offences Act 1957;
and (d) perjury contrary to section 1 of the Perjury Act 1911.
54
   Extradition Act 2003, s. 80. This bar is engaged “if (and only if) it appears that [the person] would be entitled to be
discharged under any rule of law relating to previous acquittal or conviction if he were charged with the extradition
offence in the part of the United Kingdom where the judge exercises his jurisdiction”.
55
   Extradition Act 2003, s. 83. One of the requirements of this bar is that the act or omission constituting the extradition
offence also constitutes an offence under s. 1 of the Taking of Hostages Act 1982 which prohibits the taking of hostages
in the context of international terrorism.
56
     Extradition Act 2003, s. 94.
57
     Extradition Act 2003, s. 95. See fn 46 above for a definition of ‘specialty’.
58
     Extradition Act 2003, ss. 96 and 96A.


1922623.1
8
             Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 10 of 29


            Abuse of process/political motivation

       27. Extradition requests are rarely discharged on the basis that the case in the requesting state is politically
            motivated or abusive. It is well established that there is a presumption of good faith in relation to a
            requesting state, such as the US, which has a long history of respect for democracy, human rights and
            the rule of law, and which has longstanding extradition arrangements with the United Kingdom 59.

       28. It is highly unlikely that Ms. Maxwell would be able to establish that the US prosecutor had acted in
            bad faith, for example by seeking her extradition for a collateral motive in circumstances where they
            knew there was no real case against her 60.

       29. It is also highly unlikely that Ms Maxwell would be able to establish that her extradition was sought
            for the purpose of prosecuting or punishing her on account of her political opinions, or that she might
            be prejudiced at her trial or punished, detained or restricted in her personal liberty by reason of those
            opinions 61.

            Passage of time

       30. Notwithstanding the date of the allegations in the superseding indictment, a judge is unlikely to
            conclude that it would be unjust or oppressive to extradite Ms Maxwell by reason of the passage of
            time since the alleged commission of the offences 62. The courts have upheld orders for extradition in
            cases with similar timescales to those in Ms Maxwell’s case, including two cases involving historic
            allegations of sexual offending where the relevant time period was 20 and 33 years. In both cases, the
            courts placed emphasis on the public interest in ensuring that extradition arrangements were honoured
            and in ensuring that serious allegations were tried 63.

       31. As to oppression, the graver the offence the higher the threshold for oppression 64. Given the
            seriousness of the offences in Ms Maxwell’s case, it is unlikely that she would be able to establish that
            any personal or family hardship that might be caused by the extradition 65 should outweigh the public



59
     Ahmad v United Kingdom (2010) 51 EHRR SE6, para. 105.
60
     R (Bermingham) v Director of the Serious Fraud Office [2007] QB 727, para. 100.
61
     Extradition Act 2003, s. 81.
62
     Extradition Act 2003, s. 82. The date range for the offences in the superseding indictment is 1994–1997.
63
  Short v Falkland Islands [2020] 1 WLR 1644, paras. 41-49 and Henderson v Government of Australia [2015] EWHC
1421 (Admin), paras. 19-26.
64
     Kakis v Government of the Republic of Cyprus [1978] 1 WLR 779 at 784.
65
   Oppression requires personal or family hardship greater than that inevitably inherent in the act of extradition when
facing what is likely to be long criminal trial process in another country Gomes v Government of Trinidad and Tobago
[2009] 1 WLR 1038, para. 36; Norris v Government of United States of America [2007] 1 WLR 1730.


1922623.1
9
             Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 11 of 29


            interest in these offences being tried 66. Similarly, there is a high threshold in relation to injustice 67,
            and it is very unlikely that Ms Maxwell would be able to meet it. There is a general presumption that
            justice will be done despite the passage of time and the burden is on the requested person to establish
            the contrary 68. In assessing injustice, the appropriate judge would have regard to the procedural
            safeguards that exist under US domestic law69. Further, the judge is very likely to place weight on the
            fact that Ms Maxwell had, in the hypothetical scenario under consideration, absconded from ongoing
            proceedings that would otherwise have resulted in her trial in the US. As the English High Court
            expressed it in Tollman “the very fact that the accused invokes justice to prevent [their] extradition
            requires consideration of the circumstances which have led to the fact that [they are] not facing
            justice in the country from which [they have] fled” 70. In those circumstances it is very unlikely that
            Ms Maxwell would be able to rely on the bar of passage of time to defeat extradition.

            Forum

       32. It is highly unlikely that Ms Maxwell would be able to rely on the bar of forum, which applies where
            extradition would not be in the interests of justice because: (a) a substantial measure of the requested
            person’s ‘relevant activity’ 71 occurred in the UK; and (b) having regard to ‘the specified matters’ 72
            relating to the interests of justice (and only those matters), the extradition should not take place 73.

       33. Although some of the conduct alleged in the superseding indictment is said to have occurred in
            London 74, three of the ‘specified matters’ are likely to weigh heavily against a finding that extradition
            would be barred by forum. First, it appears that the majority of the harm caused by the offending75
            alleged in the superseding indictment occurred in the United States. An extradition judge would treat


66
   Kakis at 784. Although the passage of time bar was successfully relied on in the US extradition case of Eason v
Government of the United States of America [2020] EWHC 604 (Admin) the case-law is clear that a fact-specific
enquiry is required, and that authorities are of “very limited value” when considering the facts of individual cases:
Steblins v Government of Latvia [2006] EWHC 1272 (Admin), para. 13.
67
     Gomes, para. 36 and Lisowski-v-Regional Court of Bialystock (Poland) [2006] EWHC 3227 (Admin), para. 9.
68
     Gomes, para. 36.
69
   Woodcock v Government of New Zealand [2004] 1 WLR 47, para. 29; Gomes, para. 32; Linkevicius v Prosecutor
General’s Office of the Republic of Lithuania [2006] EWHC 3481 (Admin) at para. 17; and Crean v Government of
Ireland [2007] EWHC 814 (Admin) at para. 21; Henderson, paras. 19-26.
70
     Government of the United States of America v Tollman [2008] EWHC 184 (Admin), para. 53.
71
  ‘Relevant activity’ means activity which is material to the commission of the extradition offence and is alleged to have
been performed by the requested person: Extradition Act 2003, s. 83A(6).
72
     As defined in s. 83A(3) of the Extradition Act 2003.
73
     Extradition Act 2003, s. 83A(1) and (2).
74
     Superseding indictment dated 7 August 2020, para. 6.
75
     Extradition Act 2003, s. 83A(3)(a).


1922623.1
10
               Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 12 of 29


            this as a weighty factor 76. Second, a court would be likely to consider that the interests of the
            victims 77 would be best served by a trial in the United States. The High Court has held that the
            interests of victims 78 “will be in having a trial at a place where, if they do give evidence or wish to be
            present, they can be so” 79. Third, Ms Maxwell’s connections to the UK 80 do not appear to be of a
            type likely to be considered substantial in this context.

            Mental and physical condition

       34. It is highly unlikely that Ms Maxwell would be able to establish that her physical or mental condition
            is such that it would be unjust or oppressive to extradite her 81. In order to rely on her physical or
            mental health in opposition to extradition, Ms Maxwell would need to serve evidence sufficient to
            meet the statutory test. Most cases in the ‘unjust’ category relate to the persons’ fitness to plead to
            otherwise to participate in trial proceedings. Oppression is a high threshold, not easily surmountable 82
            and stress and hardship, which occur in most extradition cases, are not sufficient 83. Even in cases
            where the requested person suffers from a serious medical conditions, it is often possible for the
            requesting state gives an assurance as to the medical care that will be provided 84, or an undertaking to
            return an individual if they are later found to be unfit to plead 85, and thus ensure that extradition is
            possible notwithstanding the requested person’s medical problems.




76
     Love v United States [2018] 1 WLR 2889, para. 28.
77
     Extradition Act 2003, s. 83A(3)(a).
78
     Extradition Act 2003, s. 83A(3)(a).
79
  Shaw v United States [2014] EWHC 4654 (Admin), paragraph 61. It is to be noted in this regard that, at Ms Maxwell’s
bail hearing on 14 July 2020, one of the victims made a statement in person and another provided a written statement that
was read to the court by the prosecutor: United States of America v Ghislaine Maxwell, Transcript of hearing, 14 July
2020, pp. 38-40.
80
     Extradition Act 2003, s. 83A(3)(g).
81
     Extradition Act 2003, s. 91.
82
     Love v Government of the United States, para. 122.
83
     Dewani v Govenrment of South Africa [2012] EWHC 842 (Admin), para. 73.
84
     Miao v Government of the United States of America [2020] EWHC 2178 (Admin), para. 37.
85
     Dewani.


1922623.1
11
             Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 13 of 29


E. The human rights objections that may conceivably be open to Ms Maxwell should she face
extradition to the US in relation to the charges on the superseding indictment dated 7 August 2020

       35. Finally, it is highly unlikely that Ms Maxwell would be able to demonstrate that her extradition would
            be incompatible with her rights under the ECHR 86. The human rights grounds that might potentially
            be relied upon by Ms Maxwell are considered in the paragraphs that follow87.

            Article 3 (prison conditions)

       36. Article 3 protects the right not to be subject to torture or inhuman or degrading treatment. The test is
            whether substantial grounds have been shown that, if extradited, the person faces a “real risk” of
            treatment contrary to Article 3 88. The test is a stringent one and a strong case is required to make
            good a violation of Article 3 89. Mistreatment must attain a minimum level of severity before Article 3
            is engaged. Prison conditions can meet that test although, whether they do, depends on all the
            circumstances, including the personal characteristics of the detainee 90. Although Article 3 complaints
            based on prison conditions are not uncommon in US cases, the courts have repeatedly rejected such
            submissions 91 92. Further, even if there were to be a case where the systemic conditions at one or more
            US detention facilities were found to give rise to a serious risk that Article 3 would be breached by
            extradition, such difficulties are capable of being surmounted by the provision of assurances that the
            requested person will not be detained in those particular prisons, or by giving guarantees in relation to




86
     Extradition Act 2003, s. 87.
87
   There does not appear to be any basis upon which it could be said that the following rights are engaged: (a) Art. 2 (the
right to life); (b) Art. 4 (freedom from slavery); (c) Art. 5 (unlawful detention); Art. 7 (no punishment without law); Art.
9 (freedom of thought, conscience and religion); Art. 10 (freedom of speech); Art. 11 (freedom of assembly); Art. 12 (the
right to marry); Art. 14 (discrimination); Arts. 1-3 of the First Protocol (protection of property; right to education; right to
free elections); and Art. 1 of the Thirteenth Protocol (abolition of the death penalty).
88
     Soering v United Kingdom (1989) 11 EHRR 439, paras. 88 and 91.
89
     Elashmawy v Court of Brescia, Italy and Ors [2015] EWHC 28 (Admin), para. 49.
90
     Ireland v United Kingdom (1979-80) 2 EHRR 25, para. 162.
91
  Including: Ahmad v United Kingdom (2013) 56 EHRR 1, paras. 207-210; Pham v Government of the United States of
America [2014] EWHC 4167 (Admin), paras. 44-51; Bedwell v Government of the United States [2019] EWHC 3131
(Admin), para. 36; Dempsey, paras. 35-50; Sanchez v Government of the United States of America [2020] EWHC 508
(Admin); and Miao, para. 41.
92
   The conditions at the New York detention facilities, MDC and MCC were a factor in the court’s conclusion in Love
(see fn 76 above) that extradition would be oppressive in light of Mr Love’s “rather particular circumstances” which
included a serious health condition (paras 102 and 106-108). The decision in Love was based on section 91 of the 2003
Act, and the court made no finding under Article 3 (para 123). In Hafeez, which was decided in January 2020, the High
Court received the same evidence as has been before the court in Love, and concluded that “the evidence in this case falls
well short of the necessary threshold” to prove a breach of Article 3 based on the conditions at MDC and MCC (see
Hafeez v Government of the United States of America [2020] EWHC 155 (Admin), para. 66).


1922623.1
12
             Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 14 of 29


            specific concerns, such as access to medical care 93. In those circumstances, it is highly unlikely that
            Ms Maxwell would be able to rely on Article 3 to defeat a request for her extradition.

            Article 6 (fair trial)

       37. Article 6 ECHR protects the right to a fair trial, and the European Court of Human Rights has noted
            that Article 6 is “strikingly similar” to the Eighth Amendment to the US Constitution 94. An issue may
            exceptionally be raised under Article 6 in an extradition case in circumstances where the requested
            person risks suffering a flagrant denial of justice in the requesting country 95. The test of ‘flagrant
            denial’ is particularly high, requiring a court to find not only that the trial would be unfair, but that
            there would be “a total nullification of the right to a fair trial” 96 In practice, this threshold is rarely
            overcome in extradition cases and it has never been met in a US extradition case. In those
            circumstances, it is highly unlikely that Ms Maxwell would be able to successfully invoke Article 6 to
            resist her extradition.

            Article 8 (private and family life)

       38. Article 8 ECHR protects the right to private and family life. In assessing Article 8, the court is
            required to conduct a balancing exercise where factors in favour of extradition, including the
            “constant and weighty” public interests in honouring extradition treaties and ensuring that people
            accused of crimes should be brought to trial, are weighed against any personal or other factors that
            would render extradition an interreference with private or family life. The test is whether any
            interference would be disproportionate to the legitimate aims pursued by extradition 97. In practice, the
            more serious the offence, the more difficult it is to establish that extradition would be
            disproportionate. Given the nature of the charges that she faces, it is highly unlikely that such an
            argument would succeed in Ms Maxwell’s case.

Conclusion

       39. In conclusion, if the United States were to request Ms Maxwell’s extradition in circumstances where
            she had absconded to the United Kingdom in breach of bail conditions imposed in the United States, it
            is extremely unlikely that she would be granted bail and highly unlikely that she would be able

93
  See, for example, Miao at para. 37 where the court stated that: “Assurances are commonly given in extradition cases in
order to mitigate risks which might otherwise bar extradition. It is common for assurances to be given in respect of
conditions of detention and the treatment of physical and mental illness (and associated suicide prevention) and they
form an important part of extradition law”.
94
     Ahmad v United Kingdom 51 EHRR SE6, para. 133.
95
     Othman v United Kingdom (2012) 55 EHRR 1, para. 258.
96
     Othman, para. 260.
97
     R (on the application of HH) v Westminster City Magistrates’ Court [2013] 1 AC 338, para. 30.




1922623.1
13
             Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 15 of 29


            successfully to resist the request for her extradition. Further, the waiver of her right to extradition
            (Annex C) would be admissible in any extradition proceedings and, in cases, such as this one, where
            the requested person consents to their extradition, the extradition process is likely to take between one
            and three months to complete.




                                                                                                 David Perry QC
                                                                                               6KBW College Hill
8 October 2020




1922623.1
14
Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 16 of 29




                  Annex A
     Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 17 of 29




Annex A – Questions set out in the Peters and Peters instructions dated 12 August 2020

Counsel is instructed to prepare an expert opinion in respect of the following:

    (a) Outline the extradition arrangements between the United Kingdom and the United
        States, including an overview of the general manner in which the arrangements work
        and the general timeframe for UK extradition proceedings in relation to requests from
        the US. Address any means by which UK extradition proceedings may be expedited.

    (b) Describe the manner in which a requested person may consent to extradition (at all
        stages of the extradition process), and the impact of any such consent on the process
        by which the requested person may be subsequently removed.

    (c) Outline the arrangements in respect of bail pending extradition, and whether a
        requested person is likely to be remanded on bail pending the hearing of an extradition
        request by the US, and any subsequent removal of that person from the UK. In a case
        where a person, subject to prosecution in US criminal proceedings, flees to the UK in
        breach of bail conditions imposed by a US court, outline the likelihood of that person
        being remanded on bail in the UK pending the hearing of the extradition request, and
        their subsequent removal from the UK.

    (d) Outline the bars to extradition, and identify those which might, based on current
        instructions, be conceivably open to Ms Maxwell were she to be arrested in the UK
        and subject to UK extradition proceedings pursuant to a request from the US, such as
        passage of time (section 82), forum (section 83A) and physical or mental condition
        (section 91). Address, in general terms, the prospects of Ms Maxwell successfully
        availing herself of any such bars, given the current approach in UK extradition case-
        law and the general thresholds required.

    (e) Outline the nature of the obligation for any extradition to be compatible with the
        requested person’s human rights (section 87) and identify those arguments that might
        conceivably be open to Ms Maxwell in any future extradition proceedings, such as
        Article 3 and Article 6. Address, in general terms, the prospects of Ms Maxwell
        successfully availing herself of any such bars, given the current approach in UK
        extradition case-law and the general thresholds required.
Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 18 of 29




                  Annex B
     Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 19 of 29




                             Annex B – CV of David Perry QC

1.    David Perry QC

1.1. David Perry QC is a barrister and former head of chambers at 6KBW College Hill. From
     1991 to 1997, he was one of the Standing Counsel to the Department of Trade and
     Industry. From 1997 to 2001, he was Junior Treasury Counsel to the Crown at the Central
     Criminal Court and Senior Treasury Counsel from 2001 until 2006, when he ‘took silk’
     (i.e. was appointed Queen’s Counsel). He is a deputy High Court Judge and a judge of
     the Court of Appeal of Jersey and Guernsey.

1.2. Mr Perry prosecutes and defends and has extensive experience of extradition and mutual
     legal assistance cases, both in the United Kingdom and overseas. He is a member of the
     Editorial Board of the Criminal Law Review and a joint editor of Blackstone’s Criminal
     Practice, a leading practitioners’ work.

2.    Extradition – Experience and Expertise

2.1. Mr Perry is widely considered one of the UK’s pre-eminent extradition practitioners and
     is listed as such in the leading industry journals. He has acted on behalf of many overseas
     governments and appeared in the High Court, House of Lords and Supreme Court in the
     leading cases. He has acted as an expert consultant to the Commonwealth Secretariat on
     international co-operation and has advised overseas governments on the drafting and
     implementation of their domestic legislation.

3.    Independent review of the United Kingdom's extradition arrangements

3.1. In 2011/12, together with Lord Justice Scott Baker and Anand Doobay, Mr Perry was
     appointed by the UK Government to conduct the Home Office’s Independent Review of
     the UK’s extradition arrangements. The review formed the basis of changes to the
     Extradition Act 2003.

3.2. The year-long review looked in detail at the following five areas:

      •     the Home Secretary’s discretionary powers to stop extradition.
      •     the operation of the European Arrest Warrant, which deals with extradition
            requests between European countries.
      •     where a crime is mainly committed in the UK, whether the person should be tried
            in the UK.
      •     whether the US-UK Extradition Treaty is unbalanced.
      •     whether requesting countries should be required to provide sufficient evidence to
            prove an allegation.

3.3. The report, totalling 488 pages and presented to the Home Secretary on 30 September
     2011, made a series of recommendations in respect of the UK’s extradition arrangements.
     Part 7 of the report looked specifically at extradition arrangements between the United
     States and United Kingdom under the 2003 UK-US Treaty on Extradition. It assessed the
     effectiveness of the tests used in each jurisdiction and laid out the authors’ observations
     on the procedures under the treaty. Their conclusion was that the 2003 treaty was
     operating fairly and there was no basis to seek its renegotiation.
     Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 20 of 29




4.       Practical Experience

4.1. Mr Perry has acted for governments and individuals in the most important and high-
     profile extradition matters, including extradition requests between the United Kingdom
     and the United States:

     •        USA v Mackellar: Acted on behalf of the Governor of the Cayman Islands in
              extradition proceedings brought on behalf of the Government of the United States.

     •        USA v Brian Dempsey [2020] EWHC 603 (Admin): Appeared for the Government
              of the United States in relation to an extradition request for an individual who had
              travelled to Syria as part of the on-going conflict.

     •        Russia v Alexander Zmikhnovskiy Westminster Magistrates Court, 15 April 2019
              (unreported): Extradition request of former CEO of Oboronenergosbyt JSC, who
              was alleged to have been involved in fraud by the Russian Federation, his
              extradition was refused on several grounds.

     •        Russia v Yurov, Westminster Magistrates Court, 28 September 2018 (unreported):
              Appeared for Ilya Yurov, former Chairman of a large Russian bank and previously
              accused of fraud, to successfully resist an extradition request from Russia.

     •        Russia v A: Instructed to advise A in respect of a prospective extradition request
              from Russia. The issues in the case relate to prison conditions, health, and fair trial.

     •        R (HH) v Westminster Magistrates’ Court [2012] UKSC 25; [2012] 3 WLR 90:
              one of the leading cases on the application of Article 8 ECHR in extradition
              proceedings

     •        Norris v Government of the United States of America [2010] UKSC 9; [2010] 2
              AC 487: Represented the Government of the United States in the Supreme Court
              in the leading case on the application of Articles 3 and 8 of the Convention in
              extradition proceedings.

     •        Norris v Government of the United States of America [2008] UKHL 16, [2008] 1
              AC 920: Represented the Government of the United States in the House of Lords
              in the leading case on cartels and competition law, and the requirement of double
              criminality in extradition proceedings.

     •        R (Bermingham) v Director of the Serious Fraud Office [2006] EWHC 200
              (Admin); [2007] QB 727: the extradition of the ‘Natwest Three’, one of the first
              cases US cases to proceed under the Extradition Act 2003.
Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 21 of 29




                  Annex C
       Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 22 of 29




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                      Docket No. 20-CR-330 (AJN)
       - against -

GHISLAINE MAXWELL,                                    AFFIDAVIT AND WAIVER OF
                                                      EXTRADITION
                                 Defendant.



Ghislaine Maxwell, being duly sworn, deposes and says:

       1.      I am the named defendant in the above-captioned case. I am a citizen of the

United States, the United Kingdom, and France. I have resided in the United States since

approximately 1991. I am currently incarcerated at the Metropolitan Detention Center in

Brooklyn, New York.

       2.      I have reviewed with my counsel, Mark S. Cohen and Christian R. Everdell of

Cohen & Gresser, LLP, the charges contained in the superseding indictment in the above-

captioned case (the “Indictment”). In addition, I have been informed by United States and

United Kingdom counsel, with whom I am satisfied, of my rights under the United Kingdom’s

Extradition Act 2003 (the “Act”), which gives effect to the Extradition Treaty between the

Government of the United Kingdom of Great Britain and Northern Ireland and the Government

of the United States of America (the “Treaty”). I understand that, in proceedings in the United

Kingdom under the Act in respect of an extradition request by the United States under the Treaty

in connection with the Indictment, I would be entitled to argue that I should not be extradited to

the United States. I understand that in the absence of my consent to extradition, I cannot be
       Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 23 of 29




surrendered to the United States authorities unless and until a court in the United Kingdom issues

a ruling finding that there are no bars to my extradition.

       3.      If I am released on bail in connection with the Indictment, I hereby voluntarily

and irrevocably waive any rights to contest any extradition request by the United States under the

Treaty with respect to the offenses charged in the Indictment. Specifically, I consent to

extradition pursuant to Part 2 sections 127 and 128 of the Act in connection with the offenses

charged in the Indictment. In addition, to the extent that it might be relevant, I waive any rights

to assert that any bars to extradition apply, and I confirm that no such bars apply.

       4.      In the event that I violate my bail conditions after being released, I understand

that the purpose of this affidavit is for the government to offer it to the authorities in the United

Kingdom when my extradition is sought by the United States government in relation to the

charges in the Indictment. I understand that the United Kingdom authorities may use this

affidavit to assist in determining my extraditability.

       5.      I make this waiver freely and voluntarily, after having consulted with counsel.

Dated this ___ day of December 2020.


________________________
Ghislaine Maxwell



I hereby certify that on this ____ day of December 2020, Ghislaine Maxwell personally appeared

before me and made his oath in due form of law that the statements herein are true.



                                                               ______________________________
                                                               The Honorable Alison J. Nathan
                                                               United States District Judge
                                                               Southern District of New York



                                                   2
Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 24 of 29




                  Annex D
        Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 25 of 29




    Annex D – time-limits in relation to US extradition requests under the Extradition Act
                                             2003


    Stage                             Time-limit


    Preliminary stages

    Certification of the              No statutory time-limit1
    extradition request
                                      Comment [1]: there is no consistent practice as to the length
                                      of time that it takes to certify an extradition request. Some
                                      requests are certified within days; in other cases, certification
                                      takes several months. Requests are certified more quickly in
                                      cases where the US authorities request expedition

    The sending of the request        No statutory time-limit2
    and the certificate to the
    extradition judge                 Comment [2]: in practice, the documents are usually sent to
                                      the appropriate judge on the same day that the request is
                                      certified

    Arrest under a provisional        The requested person must be brought before the extradition
    warrant                           judge “as soon as practicable” after arrest, unless bail is
                                      granted by the arresting officer3

                                      The full extradition request must be served within 65 days4

                                      Comment [3]: bail is rarely granted prior to the requested
                                      person’s production in court and never in cases where the
                                      Crown Prosecution Service objects to bail

    Arrest pursuant to a full         The requested person must be brought before the extradition
    extradition request               judge “as soon as practicable” after arrest, unless bail is
                                      granted by the arresting officer5

                                      Comment [4]: see Comment [3]



1
    Extradition Act 2003, s. 70(1).
2
    Extradition Act 2003, s. 70(9).
3
    Extradition Act 2003, s. 74(3).
4
 Extradition Act 2003, s. 74(11)(b) and Extradition Act 2003 (Designation of Part 2 Territories) Order
2003/3334, Art. 2.
5
    Extradition Act 2003, s. 72(3).
        Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 26 of 29




    Cases where the requested person consents to extradition

    Sending the case to the                No statutory time-limit6
    Secretary of State
                                           Comment [5]: in practice, where the requested person
                                           consents to extradition, the case is sent to the Secretary of
                                           State straight away

    Order for extradition                  Two months of the date on which the case is sent to the
                                           Secretary of State7

                                           Comment [6]: where the requested person consents to
                                           extradition, the Secretary of State does not need to wait four
                                           weeks to consider any representations from the requested
                                           person before ordering extradition: section 93(7)

    Removal                                28 days of the order for extradition8

    Cases where there is an extradition hearing

    The date of the extradition            Two months from the date on which the Secretary of State
    hearing (provisional arrest)           sends the documents to the extradition judge. That date can be
                                           extended by the extradition judge on application by one of the
                                           parties where the judge considers it to be “in the interests of
                                           justice” to fix a later date. The time-limit can be extended
                                           more than once9

                                           Comment [7]: in practice, the extradition judge often
                                           “opens” the extradition hearing at the initial hearing with the
                                           effect that this time-limit ceases to run

    The date of the extradition            Two months from the initial hearing. That date can be
    hearing (arrest pursuant to a          extended by the extradition judge on application by one of the
    full request)                          parties where the judge considers it to be “in the interests of
                                           justice” to fix a later date. The time-limit can be extended
                                           more than once10

                                           Comment [8]: in practice, the extradition judge often
                                           “opens” the extradition hearing at the initial hearing with the
                                           effect that this time-limit ceases to run


6
    Extradition Act 2003, s. 128.
7
    Extradition Act 2003, s. 99(3).
8
    Extradition Act 2003, s. 117(2)(a).
9
    Extradition Act 2003, s. 76(3)–(4).
10
     Extradition Act 2003, s. 75(2)–(3).
        Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 27 of 29




 Sending the case to the                   No statutory time-limit11
 Secretary of State
                                           Comment [9]: in practice, the judge sends the case to the
                                           Secretary of State straight away

 Order for extradition                     Two months of the date on which the case is sent to the
                                           Secretary of State12

                                           Extradition may not be ordered during the first four weeks of
                                           this period (‘the permitted period’) to allow the requested
                                           person to make representations13

 Cases where there is no appeal

 Removal                                   28 days starting with: (a) the day on which the requested
                                           person is informed that an order for extradition has been made
                                           (in cases where no in-time appeal is lodged); or (b) the day on
                                           which leave to appeal is refused by the High Court14

 Cases where there is an appeal

 Lodging an application for                Notice of application for leave to appeal must be lodged
 permission to appeal a                    within 14 days of the day on which the requested person was
 decision to send the case to              informed of the Secretary of State’s decision to order
 the Secretary of State                    extradition15

                                           This time-limit may be extended if the person “did everything
                                           reasonably possible to ensure that the notice was given as
                                           soon as it could be given”16

 Lodging an application for                Notice of application for leave to appeal must be lodged
 permission to appeal against              within 14 days of the day on which the requested person was
 an order for extradition                  informed of the Secretary of State’s decision to order
                                           extradition17



11
     Extradition Act 2003, s. 87.
12
     Extradition Act 2003, s. 99(3).
13
     Extradition Act 2003, s. 93(5)–(6).
14
     Extradition Act 2003, s. 117(1)–(2).
15
     Extradition Act 2003, s. 103(9).
16
     Extradition Act 2003, s. 103(10).
17
     Extradition Act 2003, s. 108(4)(b).
        Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 28 of 29




                                        An application may be lodged out of time only where
                                        it appears to the High Court that (a) the appeal is necessary to
                                        avoid real injustice, and the circumstances are exceptional and
                                        make it appropriate for the appeal to be heard; or (b) the
                                        person did everything reasonably possible to ensure that the
                                        notice was given as soon as it could be given18


 Lodging an application for             Notice of application for leave to appeal must be lodged
 permission to appeal against           within 14 days of the day on which the order for discharge
 discharge at the extradition           was made19
 hearing
                                        This time-limit may not be extended

 Lodging an application for             Notice of application for leave to appeal must be lodged
 permission to appeal against           within 14 days of the day on which the requesting government
 discharge by the Secretary             is informed of the order for discharge20
 of State
                                        This time-limit may not be extended

 Lodging an application for             14 days, starting on the day on which the court makes it
 leave to appeal to the High            decision on the appeal to it21
 Court

 Lodging an application to              14 days, starting on the day on which the High Court refuses
 the Supreme Court for leave            leave to appeal22
 to appeal

 Lodging an appeal if leave it 28 days starting on the day on which leave is granted23
 granted

 Extradition following appeal

 Removal                                28 days starting with: (a) the day on which the decision of the
                                        relevant court becomes final, or (b) the day on which
                                        proceedings on the appeal are discontinued24.


18
     Extradition Act 2003, s. 108(7A) and (8).
19
     Extradition Act 2003, s. 105(5).
20
     Extradition Act 2003, s. 110(5).
21
     Extradition Act 2003, s. 114(5).
22
     Extradition Act 2003, s. 114(6).
23
     Extradition Act 2003, s. 114(7).
24
     Extradition Act 2003, s. 118(2).
        Case 1:20-cr-00330-AJN Document 97-21 Filed 12/14/20 Page 29 of 29




                                         In cases where there is no appeal to the Supreme Court, the
                                         relevant court is the High Court and the decision becomes
                                         final when the period for applying for permission to appeal
                                         ends and there is no such application, or leave to appeal is
                                         refused25.

                                         In cases where there is an appeal to the Supreme Court, the
                                         relevant court is the Supreme Court and the decision becomes
                                         final when it is made26.




25
     Extradition Act 2003, s. 118(3) and (4).
26
     Extradition Act 2003, s. 118(3) and (6).
